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JUDGE GARDEE ES

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 
   

INDICTMENT

UNITED STATES OF AMERICA

18 Cr.
- V. _

GODOFREDO LEANDRO GONZALEZ,

LUIS RAFAEL FEBRES MONASTERIO, wn (\ .
MURVIN REIGOUD MAIKEL, : }

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OMAR TORRES,
MOSES ROOPWAH, and
NERIDIO-JULIAN SUCRE,

Defendants.
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COUNT ONE
The Grand Jury charges:
1. In or about July 2018, on the high seas and

elsewhere, GODOFREDO LEANDRO GONZALEZ, LUIS RAFAEL MONASTERIO,
MURVIN REIGOUD MAIKEL, OMAR TORRES, MOSES ROOPWAH, and NERIDIO-
JULIAN SUCRE, the defendants, and others known and unknown,
intentionally and knowingly combined, conspired, confederated,
and agreed together and with each other to violate the maritime
drug enforcement laws of the United States.

2. It was a part and an object of the conspiracy
that GODOFREDO LEANDRO GONZALEZ, LUIS RAFAEL MONASTERIO, MURVIN
REIGOUD MAIKEL, OMAR TORRES, MOSES ROOPWAH, and NERIDIO-JULIAN
SUCRE, the defendants, and others known and unknown, while on

board a vessel subject to the jurisdiction of the United States
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with intent to distribute a controlled substance, in violation
of Title 46, United States Code, Section 70503 (a) (1).

3. The controlled substance involved in the offense
was five kilograms and more of mixtures and substances
containing a detectable amount of cocaine, in violation of Title
46, United States Code, Section 70506(a) and Title 21, United
States Code, Section 960 (b) (1) (B).

(Title 46, United States Code, Sections 70503, 70506(b) &
70504 (b) (2); Title 21, United States Code, Section 960(b) (1) (B).)

COUNT TWO

The Grand Jury further charges:

4. In or about July 2018, on the high seas and
elsewhere, GODOFREDO LEANDRO GONZALEZ, LUIS RAFAEL MONASTERIO,
MURVIN REIGOUD MATKEL, OMAR TORRES, MOSES ROOPWAH, and NERIDIO-
JULIAN SUCRE, the defendants, while on board a vessel subject to
the jurisdiction of the United States, knowingly and
intentionally distributed and possessed with intent to
distribute five kilograms and more of mixtures and substances
containing a detectable amount of cocaine.

(Title 46, United States Code, Sections
70503 (a) (1), 70504(b) (2), 70506(a); Title 21, United States
Code, Section 960(b) (1) (B); and Title 18, United States Code,

Section 2.)

FORFEITURE ALLEGATION

 

5. As a result of committing the offenses charged in

Counts One and Two of this Indictment, GODOFREDO LEANDRO
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GONZALEZ, LUIS RAFAEL MONASTERIO, MURVIN REIGOUD MAIKEL, OMAR
TORRES, MOSES ROOPWAH, and NERIDIO-JULIAN SUCRE, the defendants,
shall forfeit to the United States, pursuant to Title 46, United
States Code, Section 70507(a), and Title 28, United States Code,
Section 2461, the following property that was used or intended

for use to commit, or to facilitate the commission of, said

offenses:

a. All controlled substances;

b. All raw materials, products, and equipment of any
kind;

c. All listed chemicals, all drug manufacturing

equipment, all tableting machines, all encapsulating machines,
and all gelatin capsules;

d. All property which is used, or intended for use,
as a container for property described in paragraphs 5(a), 5(b),
and 5(c) of this Indictment;

e. All conveyances, including aircraft, vehicles, or
vessels;

f. All books, records, and research, including
formulas, microfilm, tapes, and data;

g. All moneys, negotiable instruments, securities,
or other things of value furnished or intended to be furnished
by any person in exchange for a controlled substance or listed

chemical, and all moneys, negotiable instruments, and securities
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used or intended to be used to facilitate the offenses charged
in Counts One and Two of this Indictment;

h. All real property, including any right, title,
and interest (including any leasehold interest) in the whole of
any lot or tract of land and any appurtenances or improvements;

i. Any drug paraphernalia; and

j- Any firearm used or intended to be used to
facilitate the transportation, sale, receipt, possession, or
concealment of property described in paragraph 5(a) and 5(b) of
this Indictment, and any proceeds traceable to such property.

Substitute Assets Provision

 

5. If any of the above-described forfeitable

property, as a result of any act or omission of the defendants:

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or

deposited with, a third person;

c. has been placed beyond the jurisdiction of
the Court;

d. has been substantially diminished in value;
or

e. has been commingled with other property

which cannot be subdivided without

difficulty,
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it is the intent of the United States, pursuant to Title 21,
United States Code, Sections 853(p), to seek forfeiture of any
other property of the defendants up to the value of the

above-described forfeitable property.

(Title 46, United States Code, Section 70507(a);
Title 21, United States Code, Sections 853;
Title 28, United States Code, Section 2461.)

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HOFRREY/S. BE
United States Attorney

FOREPERSON _/

 
   

 
